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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

BRANDON MCDANIELS,                       :   CIVIL ACTION NO. 1:22-CV-1816
                                         :
                     Plaintiff           :   (Judge Conner)
                                         :
            v.                           :
                                         :
C/O STARK, et al.,                       :
                                         :
                     Defendants          :

                                     ORDER

      AND NOW, this 15th day of November, 2024, for the reasons set forth in the

accompanying memorandum, it is hereby ORDERED that:

      1.    This case is DISMISSED with prejudice for plaintiff’s failure to
            prosecute pursuant to Federal Rule of Civil Procedure 41(b).

      2.    The Clerk of Court is directed to CLOSE this case.


                                      /S/ CHRISTOPHER C. CONNER
                                      Christopher C. Conner
                                      United States District Judge
                                      Middle District of Pennsylvania
